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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TRIBUNE COMPANY, et al.,

Debtors.

Chapter 11

Case No. 08-13141 (KJC)

Objection Date: May 5, 2009 at 4:00 p.m.
Hearing Date: TBD

NOTICE OF FIRST INTERIM FEE APPLICATION

Joseph J. McMahon, Jr., Esquire
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J. Caleb Boggs Federal Building

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Wilmington, DE 19801
(U.S. Trustee)

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Linda K. Cooper, Esquire
Stuart Maue

3840 McKelvey Rd.

St. Louis, MO 63044
(Fee Auditor)

All Parties on 2002 Service List

PLEASE TAKE NOTICE that on April 15, 2009, Alvarez & Marsal North America, LLC
filed the First Interim Fee Application of Alvarez & Marsal North America, LLC in their
Capacity as Restructuring Advisors to the Debtors and Debtors-in-Possession, for
Compensation and Reimbursement of Expenses Incurred for the Period December 8, 2008
through February 28, 2009 (the “Interim Application”), which seeks approval of an interim fee
application for professional services rendered to the Debtors in the amount of $2,812,156.00,
together with reimbursement of disbursements in the amount of $26,044.78.

You are required to file a response, if any, to the Interim Application on or before May 5,

2009 at 4:00 p.m. (Eastern Time).

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At the same time, you must also serve a copy of the response upon movant’s counsel so
that it is received by 4:00 p.m. on May 5, 2009:

Norman L. Pernick, Esquire Kenneth Kansa, Esquire Thomas E. Hill

J. Kate Stickles, Esquire Jillian K. McClelland, Esquire ALVAREZ & MARSAL NORTH
COLE, SCHOTZ, MEISEL, SIDLEY AUSTIN LLP AMERICA, LLC

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Wilmington, DE 19801 kkansa@sidley,com tyhill@alvarezandmarsal.com

npernick@coleschotz.com

A HEARING ON THE INTERIM APPLICATION WILL BE HELD AT A DATE AND
TIME TO BE SCHEDULED BEFORE THE HONORABLE KEVIN J. CAREY, CHIEF U.S.
BANKRUPTCY JUDGE, U.S. BANKRUPTCY COURT, 824 NORTH MARKET STREET,
5™ FLOOR, WILMINGTON, DELAWARE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE INTERIM APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: April 15, 2009 COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

Norgnan L. ‘Pernick (No. 2290)

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